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4                          UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF WASHINGTON AT SEATTLE
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     COSMOS GRANITE (WEST), LLC, a                    Case No.: 2:19-cv-01697-RSM
6    Washington limited liability company,
                                                      ORDER GRANTING JOINT MOTION
                                         Plaintiff,   TO SEAL THE MINAGREX’S REPLY IN
7
                                                      SUPPORT OF ITS MOTION FOR
     v.
8                                                     EXTENSION OF CERTAIN DEADLINES
     MINAGREX CORPORATION, d/b/a
     MGX Stone,
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                                       Defendant.
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            THIS MATTER, having come before the Court on the Plaintiff’s and Defendant’s Joint
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     Motion to Seal Minagrex’s Reply in Support of its Motion for Extension of Certain Deadlines,
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     and the Court having reviewed all documents submitted in support of and in opposition to said
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     motion, and reviewed the records and files herein, the Court finds that the motion should be
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     granted. Now, therefore,
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            IT IS HEREBY ORDERED that the Joint Motion to Seal Minagrex’s Reply in Support
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     of its Motion for Extension of Certain Deadlines is GRANTED, and that Minagrex’s Reply in
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     support of its Motion for Extension of Certain Deadlines can be filed under seal. Minagrex is
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     DIRECTED to file a redacted version of the Reply within seven (7) days of this Order.
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            DATED this 14th day of January, 2021.
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                                                  RICARDO S. MARTINEZ
23                                                CHIEF UNITED STATES DISTRICT JUDGE

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      ORDER GRANTING JOINT MOTION TO SEAL MINAGREX’S
      REPLY - 1

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